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                        UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et al.,                )   Case No.: 1:18-cv-192-LEK-KSC
                                         )
                     Plaintiff,          )   (Copyright)
      vs.                                )
                                         )   PLAINTIFFS’ NOTICE OF
                                         )   DISMISSAL OF DEFENDANTS
   DOE 1 et. al.                         )   DOES 1 AND 6-10 WITH
                                         )   PREJUDICE
                     Defendants.         )
                                         )
                                         )
                                         )
                                         )

                   PLAINTIFFS’ NOTICE OF DISMISSAL OF
               DEFENDANTS DOES 1 AND 6-10 WITH PREJUDICE

        Plaintiffs Venice PI, LLC, Headhunter LLC, MON LLC, LHF Productions,

  Inc., Cook Productions, LLC., Glacier Films 1, LLC, Colossal Movie Productions,

  LLC, Clear Skies Nevada, LLC, Bodyguard Productions, Inc., I.T. Productions, LLC,

  Cobbler Nevada, LLC, and Justice Everywhere Productions, Inc., (collectively
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  “Plaintiffs”), by and through their counsel, provides notice of their voluntary

  dismissal under Rule 41(a) of Defendants DOE 1 d/b/a showboxappdownload.com

  and DOES 6-10 (http://rawapk.com/showbox-apk-download/) with prejudice.

        These dismissals are pursuant to Rule 41(a)(1)(A)(i).

        This notice moots Defendants DOES 6-10’s motion to quash third party

  subpoena [Doc. #39].

        DATED: Kailua-Kona, Hawaii, November 16, 2018.



                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiffs
